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                    IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 JEFFERY GERMANY and
 NATALIE GERMANY                                                                  PLAINTIFFS

 VERSUS                                      CIVIL ACTION NO.: 3:24-674 MTP-KHJ

 RANKIN COUNTY SHERIFF’S DEPARTMENT
 and JOHN DOES 1-10                                                              DEFENDANTS

  MEMORANDUM IN SUPPORT OF PLAINTIFF’S RESPONSE TO DEFENDANT’S
           MOTION FOR JUDGMENT ON THE PLEADINGS

        COME NOW the Plaintiff’s Jeffery Germany and Natalie Germany, by and through

undersigned counsel, and file this Memorandum of Authorities in Support of Plaintiffs’

Response to the Defendants’ Motion for Judgment on the Pleadings pursuant to Federal Rule of

Civil Procedure 12(c) as follows:

   I.      INTRODUCTION AND STATEMENT OF FACTS

   On October 25, 2021, plaintiff Jeffery Germany, while suffering a mental health episode and

while in a suicidal state, was arrested by deputies of the Rankin County Sheriff’s Department.

The Complaint alleges that Mr. Germany was tased unnecessarily during his arrest, but Mr.

Germany has denied that allegation under oath in Jenkins and Parker v. Rankin County,

Mississippi, 3:23-CV-374-DPJ-ASH. After the plaintiff was arrested, he alleges that he was

brutally beaten while in the investigative offices of the Rankin County Sheriff’s Department; that

the participating deputies forced Jeffery Germany’s wife, Natalie Germany to participate in the

beating by striking him while he was in the investigative offices of the Sheriff’s Department, that

some deputies stood watch to ensure that they would not be discovered; that all deputies failed to

intervene, and failed to render medical assistance after the brutal beating. See [1] Complaint,

paragraphs 10 through 15.
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   II.     STANDARD OF REVIEW

   The Standard for deciding a motion under Fed.R.Civ.Pro. 12(c) is the same as the one for

deciding a Motion under Fed.R.Civ.Pro. 12(b)(6). Great Plains Tr. Co. v. Morgan Stanley

Dean Witter, 313 F.3d 305, 313 (5th Cir.2002). When considering a Motion under 12(b)(6), the

court “accepts all well-pleaded facts as true, viewing them in the light most favorable to the

plaintiff.” Jenkins and Parker v. Rankin County, Mississippi, 3:23-CV-374-DPJ-ASH [63] at

page 4; Martin K. Eby Constr. Co. v. Dall. Area Rapid Transit, 369 F.3d 464, 467(5th Cir. 2004)

(quoting Jones v. Greninger, 188 F.3d 322, 324 (5th Cir. 1999).

   To overcome a Rule 12(b)(6) motion, plaintiffs must plead “enough facts to state a claim to

relief that is plausible on its face.” Jenkins and Parker v. Rankin County, Mississippi, 3:23-CV-

374-DPJ-ASH [63] at page 4; Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “Factual

allegations must be enough to raise a right to relief above the speculative level, on the

assumption that all the allegations in the complaint are true (even if doubtful in fact).” Id. at 555

(citations and footnotes omitted).

   “A claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Jenkins

and Parker v. Rankin County, Mississippi, at page 5, (citing Ashcroft v. Iqbal, 556 U.S.

662,678 (2009); Twombly, 550 U.S. at 556). “This standard ‘simply calls for enough facts to

raise a reasonable expectation that discovery will reveal evidence of the necessary claims or

elements.” Jenkins, at page 5; In re S. Scrap Material Co., LLC 541 F.3d 584, 587 (5th Cir.

2008) (citing Twombly, 550 U.S. at 556).
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   III.    ARGUMENT

   A. The allegations in Plaintiffs’ [1] Complaint are not false and are not directly
      disputed by Jeffery Germany’s deposition testimony and video evidence.
   The Defendant, Rankin County, Mississippi begins its argument by stating that the

allegations of the Complaint are “unequivocally false.” As proof, the Defendant submits

portions of Jeffery Germany’s deposition taken in Jenkins and Parker v. Rankin County,

Mississippi, supra. As an initial matter, the defendant is seeking to convert their 12(b)(6) motion

into a Motion for Summary Judgment under Rule 56. This should not be allowed at this stage of

the proceeding, since a Rule 12(b)(6) motion merely tests the sufficiency of the allegations of the

Complaint and does not seek to determine the truth or falsity of any allegation.

   Notwithstanding, the defendant claims that Jeffery Germany disavowed the allegations of the

complaint, or that the 911 transcript and video evidence submitted by the defendant prove the

falsity of the claims in the complaint.

   First, Jeffery Germany testified that only on sentence in paragraph 11 of the Complaint was

not true. He has not disavowed any other allegation made in the complaint. The Complaint

places more focus on the activities within the investigation offices of the Sheriff’s Department,

than on anything that happened at the time of the arrest. Nothing in Jeffery Germany’s

deposition, the 911 transcript, or the body worn camera video of the arrest (defendants exhibits

1-3) addresses the plaintiffs’ allegations about what happened in the investigative offices of the

Sheriff’s Department.

   B. The Rankin County Sheriff’s Department is not a political subdivision and is not
      amenable to suit.
   While it is true that the Rankin County Sheriff’s Department is not a political subdivision of

the State of Mississippi, Rankin County, Mississippi is very much a political subdivision. While

the Caption of the Complaint lists the Rankin County Sheriff’s Department as a party, the
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entirety of the body of the complaint itself refers to Rankin County as the defendant. Paragraph

8 refers to Rankin County as a political subdivision and refers to the Sheriff’s Department as the

agency through which Rankin County fulfils its policing functions. Paragraph 18 of the

Complaint refers to the John Doe defendants as agents of Rankin County and as duly certified

law enforcement officers of Rankin County. The averments of paragraphs 33 through 52 of the

complaint all refer to Rankin County as the defendant.

    If the defendant’s claim that the law of the State of Mississippi should prevail as to whether

the proper party has been named as a defendant, we should look to the Mississippi Rules of Civil

Procedure for guidance. The advisory notes to Rule 10, which controls the form of pleading

states:

              Failure to comply with the requirements of Rule 10(b) is not ground for dismissal of
          the complaint or striking the answer. Instead, the court, upon a motion or on its own, may
          order a party to amend the pleading so as to comply with the provisions of Rule 10(b).
          See, e.g., 3M Co. v. Glass, 917 So. 2d 90, 92-94 (Miss. 2005); Harold’s Auto Parts, Inc.
          v. Mangialardi, 889 So. 2d 493, 494-95 (Miss. 2004).


    Thus, the proper remedy is not dismissal of the complaint, as the defendant urges the court, it

is to allow the Complaint (in this case, the caption) to be amended to reflect the proper party as

Rankin County, as is alleged throughout the body of the Complaint.

    C. Plaintiffs have pleaded a facially plausible Monell claim against this Defendant.

    The Defendant also alleges that the plaintiffs have not pled a facially plausible claim under

Monell v. Dept. of Soc. Servs., 436 U.S. 658 (1978).

    Paragraphs 29-36 of the Complaint speak to a custom of deliberate indifference and

constructive knowledge of both the Rankin County Board of Supervisors as well as the Sheriff
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and other policymakers of the county with regard to the pattern of excessive force which had

been displayed by some deputies within the Rankin County Sheriff’s Department. The

Complaint also alleges that the Sheriff improperly failed to train or supervise deputies under his

watch.

    “Proof of municipal liability sufficient to satisfy Monell requires (1) an official policy (or

custom) of which (2) a policy maker can be charged with actual or constructive knowledge, and

(3) a constitutional violation whose “moving force” is that policy (or custom).” Jenkins, at page

17; Pineda v. City of Houston, 291 F.3d 325, 328 (5th Cir. 2002); As the word “custom”

indicates, the policy need not be written out or formally promulgated. “Cases have recognized

that municipal custom can sometimes be proven through evidence of a persistent pattern of

conduct.” Jenkins, at page 17; Milam v. City of San Antonio, 113 F. App’x 622, 625 (5th Cir.

2004).

    To the extent that the Court may believe that the Monell claim as laid out in the Complaint

are “threadbare”, the proper remedy is not a dismissal of that claim, but rather the court should

allow the plaintiff’s the opportunity to amend the Complaint. A plaintiff’s failure to meet the

specific pleading requirements should not automatically and inflexibly result in the dismissal of

the complaint with prejudice to re-filing.” Jenkins, at page 16; Hart v. Bayer Corp., 199 F.3d

239, 248 n.6 (5th Cir. 2000) (citation omitted). “Although a court may dismiss the claim, it

should not do so without granting leave to amend, unless the defect is simply incurable or the

plaintiff has failed to plead with particularity after being afforded repeated opportunities to do

so.” Id.
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D. Plaintiffs cannot recover punitive damages from this Defendant under § 1983 as a
   matter of law.
   Having reviewed the applicable case law, the plaintiffs concede this point raised by the

Defendant. The Complaint should be amended to exclude the claim of punitive damages

against the county.

E. The Defendant is not entitled to § 1988 fees from Plaintiffs because the allegations of
   the Complaint are not frivolous, unreasonable, and/or groundless.
   The Defendants allege that Jeffery Germany knew that his claims were frivolous and

factually baseless according to his deposition testimony. Therefore, they claim to be entitled

to attorney’s fees under 42 U.S.C. §1988.

   Attorneys’ fees may not be assessed against a plaintiff who fails to state a claim under

Rule 12 unless his complaint is frivolous. The defendants are disingenuous in their claim of

frivolousness.

   [A] complaint, containing as it does both factual allegations and legal conclusions,

is frivolous where it lacks an arguable basis either in law or in fact. Neitzke v. Williams, 490

U.S. 319,325 (1989). [The] term "frivolous," when applied to a complaint, embraces not only

the inarguable legal conclusion, but also the fanciful factual allegation. Id.

   In the case at bar, the allegations of the Plaintiffs, husband and wife, that the husband was

subjected to excessive force at the hands of deputies of the Rankin County Sheriff’s

Department and that both were further humiliated when the deputies forced the wife to

participate in the abuse of her husband, are far from frivolous. These claims certainly should

not be subject to dismissal under Rule 12.
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   Rule 12(b)(6) authorizes a court to dismiss a claim on the basis of a dispositive issue of

law. Id. at 327; Hishon v. King & Spalding, 467 U.S. 69, 73 (1984); Conley v. Gibson, 355

U.S. 41, 45-46 (1957). This procedure, operating on the assumption that the factual

allegations in the complaint are true, stream- lines litigation by dispensing with needless

discovery and factfinding. Nothing in Rule 12(b)(6) confines its sweep to claims of law

which are obviously insupportable. On the contrary, if as a matter of law "it is clear that no

relief could be granted under any set of facts that could be proved consistent with the

allegations, a claim must be dismissed, without regard to whether it is based on an outlandish

legal theory or on a close but ultimately unavailing one. What Rule 12(b)(6) does not

countenance are dismissals based on a judge's disbelief of a complaint's factual

allegations. Niedzke, supra at 327 citing Hishon v. King & Spalding at 73.
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                                           CONCLUSION

              For the foregoing reasons, the Plaintiffs pray that this Honorable Court will deny

   the defendants Rule 12© claims and will grant the Plaintiff’s any appropriate relief to which

   the Plaintiffs may be entitled.

       RESPECTFULLY SUBMITTED, THIS THE 20TH DAY OF MAY, 2025.

                                     JEFFERY GERMANY and NATALIE GERMANY

                                     __/s/ TRENT L. WALKER________
                              By:    TRENT WALKER, MSB#10475



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                                 CERTIFICATE OF SERVICE

I, Trent Walker, Attorney for the plaintiff do hereby certify that I have this day caused the
foregoing document to be served via Mississippi Electronic filing on the following Counsel of
record:
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This the 5th day of May, 2025.

                                                           __/s/ TRENT L. WALKER________
                                                    By:    TRENT WALKER, MSB#10475
